             Case 2:09-cr-00135-GEB Document 49 Filed 07/20/12 Page 1 of 5


Prob 12B                    UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                            (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                         Ronald Bradford LIPMAN

Docket Number:                         2:09CR00135-02

Offender Address:                      Roseville, California

Judicial Officer:                      Honorable Garland E. Burrell, Jr.
                                       United States District Judge
                                       Sacramento, California

Original Sentence Date:                02/01/2010

Original Offense:                      18 USC 641 - Theft of Government Funds
                                       (CLASS C FELONY)

Original Sentence:                     33 months custody Bureau of Prisons; 36 months Term of
                                       Supervised Release; $66,972.00 restitution; $100 special
                                       assessment; No firearms; DNA collection; Mandatory UA.

Special Conditions:                    1) Search; 2) Shall not dissipate any assets; 3) Financial
                                       disclosure; 4) No new debt or credit; 5) Shall participate in an
                                       outpatient correctional treatment program for drug or alcohol
                                       abuse; 6) Substance abuse testing; 7) Alcohol restrictions; 8)
                                       Mental health treatment; 9) Aftercare co-payment for
                                       treatment or testing services; 10) Gambling restrictions.

Type of Supervision:                   Supervised Release

Supervision Commenced:                 11/22/2011

Assistant U.S. Attorney:               Russell Carlberg                     Telephone: (916) 554-2700

Defense Attorney:                      To be assigned                       Telephone: (916) 498-5700



Other Court Action:

                                                                                                              R ev. 02/2012
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          Case 2:09-cr-00135-GEB Document 49 Filed 07/20/12 Page 2 of 5


RE:    Ronald Bradford LIPMAN
       Docket Number: 2:09CR00135-02
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER


07/16/2012:                           Reassigned: Senior United States District Judge Frank C.
                                      Damrell Jr. (retired), to Your Honor for all further
                                      proceedings.



                                 PETITIONING THE COURT

To modify the conditions of supervision as follows:


11.    The defendant shall reside and participate in an inpatient correctional treatment program to
       obtain assistance for drug and/or alcohol abuse, for a period of up to 90 days, and up to 10
       additional days for substance abuse detoxification services if deemed necessary.


Justification: On July 1, 2012, Roseville Police Department (RPD) Officers received information
that a suspicious vehicle was traveling through an apartment complex recklessly, at a high rate of
speed, with multiple flat tires. RPD officer’s arrived to the reported location and found Mr. Lipman
sitting on the curb next to the reported vehicle. Mr. Lipman confirmed he was changing the tires on
the vehicle. During questioning, officers formed the observation that Mr. Lipman was displaying the
objective symptoms of intoxication. Mr. Lipman was unable to perform the Standard Field Sobriety
Test administered and was deemed unable to safely operate a motor vehicle.


Thereupon, Mr. Lipman was transported to the Roseville jail and was booked for violating
California Vehicle Code (VC) Section 23152(B): Driving Under the Influence (misdemeanor). Two
Preliminary Alcohol Screening’s (PAS) were administered at the station, which yielded a blood
alcohol level of .155%, and .135%. He was subsequently released pending future court proceedings.


To Mr. Lipman’s credit he immediately contacted the undersigned probation officer to report the
incident. Following receipt of the arrest report, the offender was instructed to report to the U.S.
Probation Office, Roseville Branch, in order to discuss the alleged conduct. He admitted to the
conduct, advising he had exercised poor judgement.



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                                                 2                                         (M O D IFIC A T IO N ).W P D
          Case 2:09-cr-00135-GEB Document 49 Filed 07/20/12 Page 3 of 5


RE:    Ronald Bradford LIPMAN
       Docket Number: 2:09CR00135-02
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER


Mr. Lipman was strongly admonished by the probation officer for his involvement in violation
conduct which potentially could have caused undue harm to unsuspecting victims. He was reminded
how lucky he was no one was hurt as a result of his recklessness, and he was instructed to refrain
from drinking alcohol forthwith. Further, as an immediate sanction, his drug testing was increased
to the most intensive testing phase.


Mr. Lipman’s overall adjustment to supervised release is considered to be marginal at best. He has
remained unemployed, residing with his mother in her home located in Roseville, California. On
April 20, 2012, his enrollment in the Foodlink-Truck Driving School was terminated as a result a
positive drug test (namely methamphetamine).


Mr. Lipman explained that his chronic unemployment status has led to financial hardship and as a
result induced feelings of depression and stress. He stated that although he was not trying to excuse
his behavior, at the time he could not handle the stress and used alcohol as an outlet. Mr. Lipman
articulated the severity of his substance abuse and conveyed he was amenable to inpatient substance
abuse treatment.


Throughout Mr. Lipman’s period of unemployment, the undersigned probation officer has worked
closely with him in hopes to achieve employment. He was referred to the Probation Office’s
Employee Assistance Program and he was enrolled in a specialized group to assist in his job search
activities. To date, none of the interventions have been successful. It is the opinion of the
undersigned that Mr. Lipman genuinely hoped to obtain full-time employment but was the victim
of circumstance.


When taking all factors into consideration, it is the undersigned’s opinion that Mr. Lipman’s
behavior can only be described as irresponsible and selfish. Moreover, it appears that his time in
custody, or his status on supervised release, is not enough to deter him from operating a motor
vehicle while intoxicated and placing an undo safety risk to others in the community. In aggravation
is the fact that Mr. Lipman was well aware that his conditions of supervised release prohibit him
from using alcohol. It is clear Mr. Lipman is struggling to maintain sobriety.


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                                                                            V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                 3                                          (M O D IFIC A T IO N ).W P D
          Case 2:09-cr-00135-GEB Document 49 Filed 07/20/12 Page 4 of 5


RE:    Ronald Bradford LIPMAN
       Docket Number: 2:09CR00135-02
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER


The Probation Officer believes a intervention/sanction is appropriate at this time in order to impress
upon Mr. Lipman the severity of his actions and hopefully deter him from any future deviant type
behavior which would place him in violation of his conditions of supervised release. As such, Mr.
Lipman was given the opportunity to sign a waiver to modify his conditions of supervision to include
his participation in a inpatient drug and alcohol treatment program for a period not to exceed 90
days. Mr. Lipman stated he was amenable and signed the waiver accordingly.


The above-noted matter is still pending in Placer County Superior Court, with Mr. Lipman scheduled
to appear August 8, 2012. Once adjudicated, the probation officer will advise the Court of any
additional information which may warrant Court action.


                                      Respectfully submitted,


                                       /s/ Vladimir Pajcin


                                       VLADIMIR PAJCIN
                                 United States Probation Officer
                                    Telephone: (916) 786-2357


DATED:         July 19 , 2012
               Sacramento, California
               VP:jc


REVIEWED BY:           /s/ Kyriacos M. Simonidis
                       KYRIACOS M. SIMONIDIS
                       Supervising United States Probation Officer




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                                                                            V IO LA T IO N __P E TIT IO N (P R O B 12B )
                                                  4                                         (M O D IFIC A T IO N ).W P D
         Case 2:09-cr-00135-GEB Document 49 Filed 07/20/12 Page 5 of 5


RE:    Ronald Bradford LIPMAN
       Docket Number: 2:09CR00135-02
       PETITION TO MODIFY THE CONDITIONS OR TERM
       OF SUPERVISION WITH CONSENT OF THE OFFENDER




THE COURT ORDERS:

(X)    Modification approved as recommended.

( )    Modification not approved at this time. Probation Officer to contact Court.

( )    Other:

Dated: July 19, 2012



                                        GARLAND E. BURRELL, JR.
                                        Senior United States District Judge



cc:    United States Probation
       Russell Carlberg, Assistant United States Attorney
       Federal Public Defenders
       Defendant
       Court File




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